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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

_____________________________________
                                          :
FRANK C. RACITI, DARLENE A.               :           Civil Action No.: 18-14869 (FLW) (LHG)
RACITI, individually and on behalf of all :
others similarly situated,                :                             ORDER
                                          :
                           Plaintiffs,    :
                                          :
      v.                                  :
                                          :
RUSHMORE LOAN MANAGEMENT                  :
SERVICES, LLC,                            :
                                          :
                           Defendant.     :
_____________________________________ :

       THIS MATTER having been opened to the Court by Joseph N. Froelich, Esq., counsel

for Defendant Rushmore Loan Management Services, LLC (“Defendant”), on a Motion to Dismiss

the putative Class Action Complaint of Plaintiffs Frank C. Raciti and Darlene A. Raciti

(“Plaintiffs”) pursuant to Federal Rule of Civil Procedure 12(b)(6), and on a Motion to Strike the

Class Action Allegations pursuant to Rule 12(f); it appearing that Plaintiffs, through their counsel,

Brian Shrader, Esq., oppose the motion; the Court having reviewed the parties’ submissions in

connection with the motion pursuant to Fed. R. Civ. P. 78, for the reasons set forth in the Opinion

filed on this date, and for good cause shown,

       IT IS on this 28th day of August, 2019,

       ORDERED that Defendant’s Motion to Dismiss is GRANTED; and it is further

       ORDERED that Defendant’s Motion to Strike is DENIED as moot.




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                                                     /s/ Freda L. Wolfson
                                                     Freda L. Wolfson
                                                     U.S. Chief District Judge




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